 Case 2:14-cv-06668-DSF-PLA Document 70 Filed 08/02/18 Page 1 of 5 Page ID #:1903



 1 PETER B. MORRISON (SBN 230148 )
   peter.morrison@skadden.com
 2 DOUGLAS A. SMITH (SBN 290598)
   douglas.smith@skadden.com
 3 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
   300 South Grand Avenue, Suite 3400
 4 Los Angeles, California 90071-3144
   Telephone: (213) 687-5000
 5 Facsimile: (213) 687-5600
 6 Attorneys for Defendant BANK OF AMERICA, N.A.
 7 Additional counsel listed on following page.
 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
11
   LORA SMITH and CYNTHIA                 )   CASE NO: 2:14-cv-06668-DSF-PLA
12 HIMPLE, individually, and on           )
   behalf of the class of all others      )
13 similarly situated,                    )   STIPULATION TO SET THE
                                          )   BRIEFING AND HEARING
14                     Plaintiffs,        )   SCHEDULE ON DEFENDANT
                                          )   BANK OF AMERICA'S RESPONSE
15        v.                              )   TO THE THIRD AMENDED CLASS
                                          )   ACTION COMPLAINT
16 BANK OF AMERICA, N.A., a               )
   National Banking Association,          )
17                                        )   Hon. Dale S. Fischer
                     Defendant.           )
18                                        )   Assigned to:       Magistrate Judge Paul
                                          )                      L. Abrams
19                                        )
                                          )
20                                        )
                                          )
21                                        )
22
23
24
25
26
27
28

        STIPULATION TO SET THE BRIEFING AND HEARING SCHEDULE ON DEFENDANT BANK OF AMERICA'S
                       RESPONSE TO THE THIRD AMENDED CLASS ACTION COMPLAINT
 Case 2:14-cv-06668-DSF-PLA Document 70 Filed 08/02/18 Page 2 of 5 Page ID #:1904



 1 DAVID J. VENDLER (SBN 146528)
   dvendler@mpplaw.com
 2 Law Offices of David J. Vendler
   2700 South Oak Avenue
 3 San Marino, CA 91108
   Telephone: 213-700-5194
 4
   MICHAEL R. BROWN (SBN 65324)
 5 mbrown@mrbapclaw.com
   Michael Brown Law Offices APC
 6 18101 Von Karman Avenue
   Suite 1900
 7 Irvine, CA 92612
   Telephone: 949-435-3888
 8 Fax:        949-435-3801
 9 Attorneys for Plaintiffs Lora Smith and Cynthia Himple.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

        STIPULATION TO SET THE BRIEFING AND HEARING SCHEDULE ON DEFENDANT BANK OF AMERICA'S
                       RESPONSE TO THE THIRD AMENDED CLASS ACTION COMPLAINT
 Case 2:14-cv-06668-DSF-PLA Document 70 Filed 08/02/18 Page 3 of 5 Page ID #:1905



 1        Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A) governing extensions of
 2 time and Local Rule 7-1 governing stipulations, Plaintiffs Lora Smith and Cynthia
 3 Himple ("Plaintiffs") and Defendant Bank of America, N.A. ("BANA," and collectively
 4 with Plaintiffs, the "Parties"), submit this stipulation.
 5        WHEREAS, pursuant to the Court's July 2, 2018, order [ECF No. 68], Plaintiffs
 6 filed a Third Amended Class Action Complaint ("TAC") against BANA on Monday, July
 7 30, 2018;
 8        WHEREAS, pursuant to the Court's July 2, 2018, order [ECF No. 68], the
 9 deadline for BANA to respond to the TAC is Saturday, August 11, 2018;
10        WHEREAS, under Federal Rule of Civil Procedure 6(b)(1)(A), the Court may
11 modify forthcoming deadlines for "good cause," see generally Ahanchian v. Xenon
12 Pictures, Inc., 624 F.3d 1253, 1259 (9th Cir. 2010) (stating that "requests for extensions
13 of time made [under Rule 6(b)(1) and] before the applicable deadline has passed should
14 normally. . . . be granted in the absence of bad faith on the part of the party seeking relief
15 or prejudice to the adverse party" and noting that "'[g]ood cause' is a non-rigorous
16 standard that has been construed broadly across procedural and statutory contexts"
17 (quotations omitted));
18        WHEREAS, BANA presently intends to move to dismiss the TAC (the "Motion")
19 instead of filing an answer;
20        WHEREAS, the Parties desire to set a briefing and hearing schedule on the
21 Motion;
22        WHEREAS, BANA seeks additional time beyond the 11 days provided under the
23 schedule set forth in the Court’s July 2, 2018, order to file its response to the TAC given
24 that the TAC includes more than 45 paragraphs of new allegations;
25        WHEREAS, the Court's 11-day period for filing a response to the amended
26 complaint is shorter than the 14-day period provided by default in Federal Rule of Civil
27 Procedure 15(a)(3);
28
                                                  1
        STIPULATION TO SET THE BRIEFING AND HEARING SCHEDULE ON DEFENDANT BANK OF AMERICA’S
                        RESPONSE TO THE THIRD AMENDED CLASS ACTION COMPLAINT
 Case 2:14-cv-06668-DSF-PLA Document 70 Filed 08/02/18 Page 4 of 5 Page ID #:1906



 1        WHEREAS, the Court's order set the filing deadline for BANA's response to the
 2 TAC on August 11, which is a Saturday as opposed to a business day;
 3        WHEREAS, counsel for both sides have several briefs due in August in other
 4 matters, as well as pre-existing vacations during August;
 5        WHEREAS, BANA is only requesting a two-week extension for the filing of a
 6 motion to dismiss;
 7        WHEREAS, Plaintiffs are only requesting a 30-day period of time to file an
 8 opposition brief;
 9        WHEREAS, BANA is only requesting less than two weeks to file a reply brief;
10        WHEREAS, under the proposed briefing schedule, the Court will receive all briefs
11 in support of and in opposition to the Motion 14 days before the hearing date, consistent
12 with Local Rule 7-10;
13        IT IS HEREBY STIPULATED AND AGREED THAT, by and between
14 counsel for the undersigned parties, and subject to the approval and availability of the
15 Court, the Parties agree to the following briefing and hearing schedule on BANA's
16 Motion:
17
18    Event                                           Date
19    BANA's Motion In Response to the TAC            Friday, August 24, 2018
20    Plaintiffs' Opposition to BANA's Motion         Tuesday, September 25, 2018
21    BANA's Reply In Support of Motion               Monday, October 8, 2018
22    Hearing on BANA's Motion                        Monday, October 22, 2018, at 1:30
23                                                    p.m., PT
24
25                                LAW OFFICES OF DAVID J. VENDLER
26 Dated: August 2, 2018             By: /s/        David. J. Vendler
27                                                    David J. Vendler
                                          Attorney for Plaintiffs Smith and Himple
28
                                                 2
        STIPULATION TO SET THE BRIEFING AND HEARING SCHEDULE ON DEFENDANT BANK OF AMERICA’S
                        RESPONSE TO THE THIRD AMENDED CLASS ACTION COMPLAINT
 Case 2:14-cv-06668-DSF-PLA Document 70 Filed 08/02/18 Page 5 of 5 Page ID #:1907



 1
 2
                                      MICHAEL BROWN LAW OFFICES APC
 3
     Dated: August 2, 2018                By: /s/         Michael R. Brown
 4                                                         Michael R. Brown
                                                Attorney for Plaintiffs Smith and Himple
 5
 6
                                      SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 7
     Dated: August 2, 2018                By: /s/        Peter B. Morrison
 8                                                        Peter B. Morrison
                                           Attorneys for Defendant Bank of America, N.A.
 9
10
                                              ATTESTATION
11
            I, Peter B. Morrison, attest that the signatories listed above, and on whose behalf the
12
     filing is submitted, concur in the filing's content and have authorized the filing.
13
14
                                                      /s/          Peter B. Morrison
15                                                                 Peter B. Morrison
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                       3
         STIPULATION TO SET THE BRIEFING AND HEARING SCHEDULE ON DEFENDANT BANK OF AMERICA’S
                         RESPONSE TO THE THIRD AMENDED CLASS ACTION COMPLAINT
